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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No.13-cv-03206-WJM-KMT

   CREW TILE DISTRIBUTION, INC.;

          Plaintiff and Counter-Defendant,
   and

   RYAN A. DAVIS,
   DARLYNE A. DAVIS,
   GLENN L. DAVIS,
   SHANA L. BASTEMEYER,
   PARADIGM TILE & STONE DISTRIBUTORS, LLC, and
   G&D DAVIS HOLDINGS, LLC,

          Counter-Defendants,

   v.

   PORCELANOSA LOS ANGELES, INC.,
   PORCELANOSA NEW YORK, INC.,
   PORCELANOSA TEXAS, CORP., and
   PORVEN, LTD.,
          Defendants and Counterclaimants
   ______________________________________________________________________________

         DEFENDANTS’ POST-TRIAL BRIEF ON EQUITABLE CLAIMS AND DEFENSES
   ______________________________________________________________________________
          Pursuant to this Court’s Order Directing Post-Trial Briefing on Equitable Claims and

   Defenses [Dkt. No. 357], dated March 28, 2017, Defendants and Counterclaimants, Porcelanosa

   Los Angeles, Inc. (“Porcelanosa Los Angeles”), Porcelanosa New York, Inc., Porcelanosa Texas

   Corp., and Porven, Ltd. (collectively the “Porcelanosa Parties”), by and through undersigned

   counsel, GERSH & THOMAIDIS, LLC, hereby submit their opening brief on equitable claims and

   defenses. In support of their position on equitable claims and defenses, the Porcelanosa Parties

   state as follows:


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                                       I.     INTRODUCTION

          The Court noted in its Summary Judgment Order of September 9, 2016, regarding the

   December 8, 2009, Distributor Agreement [Dkt. No. 166-1]-- “[t]here is no apparent way to

   reconcile the factual disputes without raising the suspicion that one or more parties is being

   dishonest.” (See Summary Judgment Order [Dkt. No. 236], dated Sept. 9, 2016, at p. 15, ⁋ 3). The

   Court then noted it must “…switch back and forth between two totally different views of reality,

   one in which the Agreement was signed and one in which it was forged.” (Id. at p. 15, ⁋ 4).

          The jury found against Crew Tile Distribution, Inc. (“Crew Tile” or Plaintiff”) “…on

   Counterclaimants’ Abuse of Process Claim,” and also concluded that the Porcelanosa Parties

   “…proved their claims for abuse of process…” against Ryan A. Davis and Darlyne A. Davis. (See

   Jury Verdict Form [Dkt. No. 355], dated March 24, 2017, at p. 3, Part B). Analogously, the jury

   found that “[Crew Tile Ryan A. Davis and Darlyne A. Davis] intentionally filed the claims

   constituting this lawsuit”; and “[t]he principal reason for [Crew Tile’s Ryan A. Davis’s and

   Darlyne A. Davis’s] filing of [their] claim was not for the proper legal purpose for which such

   process is used, in that Crew Tile’s claim was devoid of reasonable factual support”; and “[Crew

   Tile’s, Ryan A. Davis’s and Darlyne A. Davis’s actions caused Porcelanosa injuries, damages,

   and/or losses.” (See Final Jury Instructions [Dkt. No. 343], dated March 24, 2017, at p. 45).

          The net effect of the foregoing resolution is that Crew Tile and Counterclaim Defendants,

   Ryan A. Davis, Darlyne A. Davis, Glenn L. Davis, Shana L. Bastemeyer, Paradigm Tile & Stone

   Distributors, LLC, and G&D Davis Holdings, LLC (collectively the “Crew Tile Parties”) were

   dishonest and one view of reality is proper-- that in which that Distributor Agreement was forged.

          On these bases alone, any equitable claims remaining, at least with respect to the Crew Tile

   Parties, should be extinguished. However, the Crew Tile Parties also received the benefit of their

   bargains related to the actual contracts (for example the Dealer Account Applications and

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   Exhibitor Agreements) between the Crew Tile Parties and the Porcelanosa Parties, which governed

   the actual relationship and the conduct of the parties. Despite this, the Crew Tile Parties had no

   qualms with dishonesty in their business dealings and attendant conduct. 1

            The Porcelanosa Parties now set forth arguments in support of the affirmative defenses of:

   (a) the Doctrine of Unclean Hands, (2) the Doctrine of In Pari Delicto, and (3) the Doctrine of

   Failure to Mitigate Damages. The Porcelanosa Parties further argue that equity directs that the

   Court should pierce the corporate veil in order to avoid the inequitable result of protecting certain

   of the Crew Tile Parties’ frauds. The Porcelanosa Parties also assert that the Court should employ

   its inherent authority to impose the Porcelanosa Parties’ costs and attorneys’ fees upon Crew Tile,

   Ryan A. Davis and Darlyne A. Davis, as a sanction and to deter future abusive litigation.

                                    II.      ARGUMENT AND AUTHORITY

            Any argument the Crew Tile Parties may now assert based on their equitable claims must

   fail because of the doctrines of Unclean Hands, In Pari Delicto, and Failure to Mitigate Damages.

   A.       The Court Should Deny Plaintiff’s Equitable Claims Because of the Crew Tile Parties’
            Own Conduct

            While a plaintiff cannot ultimately recover on both contract and quasi-contract claims, “[a]

   party pursuing contract claims may also pursue [equitable] claims in the alternative.” See Hottinger

   Excavating & Ready Mix, LLC v. R.E. Crawford Constr., LLC, 2014 WL 6461350, at *6 (D. Colo.

   Nov. 18, 2014). “To recover in quantum meruit, a plaintiff must demonstrate that: (1) at plaintiff’s

   expense; (2) defendant received a benefit; (3) under circumstances that would make it unjust for


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     A brazen example of this dishonesty was the Crew Tile Parties disregard for their obligations regarding the return
   of the tile exhibitors owned by the Porcelanosa Parties. On January 7, 2014, Porcelanosa Los Angeles terminated
   the Exhibitor Agreement, dated March 29, 2010. (See Pl.’s Tr. Ex. 170). Porcelanosa Los Angeles required that the
   Crew Tile Parties, “within ten (10) days following receipt of the notice of termination, return to Porcelanosa Los
   Angeles all exhibitors (as defined by contract) to Porcelanosa Los Angeles’s warehouse.” (Pl.’s Trial Ex. 170). Not
   only did the Crew Tile Parties not return the exhibitors, but they kept certain exhibitors from January 7, 2014 through
   the date of this filing, using multiple exhibitors at trial, displaying them prominently behind the Crew Tile Parties’
   table.
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   defendant to retain the benefit without paying.” Dudding v. Norton Frickey & Assocs., 11 P.3d

   441, 445 (Colo. 2000). Essentially the same elements define unjust enrichment. Lewis v. Lewis,

   189 P.3d 1134, 1141 (Colo. 2008). Unjust enrichment is “designed to restore the plaintiff to his

   or her prior status.” Walshe v. Zabors, 2016 WL 1572375, at *11 (D. Colo. Apr. 18, 2016) (citing

   Robinson v. Colo. State Lottery Div., 179 P.3d 998, 1007 (Colo.2008) and Restatement (First) of

   Restitution § 1 (1937)). Determining whether a party is entitled to this relief “requires a trial court

   to ‘engage in a highly fact-intensive inquiry.’” Id. (quoting Dudding, 11 P.3d at 445). Crew Tile

   failed to demonstrate that the Porcelanosa Parties received any benefit at its expense. Further,

   Crew Tile and its principals are guilty of conduct involving fraud, deceit, unconscionability, and

   bad faith, which injured the Porcelanosa Parties and affect the balance of equities between parties.

   B.      The Court Should Deny Plaintiff’s Equitable Claims Because the Crew Tile Parties Have
           Unclean Hands

           The “unclean hands” doctrine provides an equitable defense enabling a defendant to defeat

   equitable remedies. Wilson v. Prentiss, 140 P.3d 288, 293 (Colo. App. 2006). Under this doctrine,

   a court considering equitable claims may exercise its discretion to deny the remedy sought. Id.

   (citing Dobbs, Law of Remedies § 2.4(2) (2d ed. 1993)). Whether the doctrine applies is a question

   of fact and law that involves an exercise of judicial discretion. Conestoga Pines Homeowners’

   Ass’n v. Black, 689 P.2d 1176 (Colo. App. 1984). “One who has engaged in improper conduct

   regarding the subject matter of the cause of action may, as a result, lose entitlement to an equitable

   remedy.” In re Marriage of Lodeski, 107 P.3d 1097, 1103 (Colo. App. 2004).

           Elements demonstrating the doctrine of unclean hands involve a showing that the party

   seeking equitable relief is “(1) guilty of conduct involving fraud, deceit, unconscionability, or bad

   faith, (2) directly related to the matter at issue, (3) that injures the other party, and (4) affects the

   balance of equities between the litigants.” Cartel Asset Mgmt. v. Ocwen Fin. Corp., No. 01-cv-

   01644-REB-CBS, 2010 WL 3522409, at *3 (D. Colo. Aug. 11, 2010) (citing In re New Valley
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   Corp., 181 F.3d 517, 523 (3d Cir. 1999)).

           Here, the jury found in the Porcelanosa Parties’ favor on Crew Tile’s breach of contract

   claims and on the Porcelanosa Parties’ abuse of process counterclaim against Crew Tile. There

   can be no question that the inequitable conduct by Crew Tile is sufficiently related to the substance

   of its breach of contract claim, and therefore to Crew Tile’s quasi-contract equitable claims, to

   permit the Porcelanosa Parties to successfully assert that Crew Tile had unclean hands, directly

   related to the matter at issue, and is now precluded from the equitable relief it seeks.

             The jury found that Crew Tile had failed to prove the existence of a valid and enforceable

   contract between Crew Tile and Porcelanosa Los Angeles. However, critical to this analysis, the

   lack of a valid and enforceable contract is not where the jury’s scrutiny ended. The jury also found

   that Crew Tile, Ryan A. Davis, and Darlyne A. Davis had abused the judicial process by

   fraudulently creating a contract and subsequently bringing and maintaining the instant lawsuit

   based on that contract. This unconscionable conduct epitomizes what the doctrine of unclean

   hands developed to protect against. 2 The doctrines of “clean hands” and of “unclean hands” are

   instrumental to public policy, devised to protect the integrity of the court. Salzman v. Bachrach,

   996 P.2d 1263, 1269 (Colo. 2000) (citing Rhine v. Terry, 143 P.2d 684, 685 (Colo. 1943)).

           That the Crew Tile Parties steadfastly maintained that the Distributor Agreement existed,

   from November 22, 2013, when the initial Complaint [Dkt. No. 1] was filed, and during the entire

   pendency of this lawsuit, further renders their hands unclean. The record from trial shows that

   Crew Tile negotiated another exclusive agreement with Alcalagres Tile (Defs. Trial Ex. A37),

   pursued the sale of competitive tile products (Defs. Trial Ex. A37, A39, and A42), and inexplicably



   2
    In Rhine v. Terry, 143 P.2d 684, 684-85 (Colo. 1943) the Colorado Supreme Court explained that the “cardinal maxim
   that ‘he who comes into a court of equity must come with clean hands,’ simply means that equity refuses to lend its
   aid in any manner to one seeking its active interposition who has been guilty of fraudulent or unconscionable
   conduct in the matter with relation to which he seeks relief.”
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   abandoned Porcelanosa Los Angeles’s property following the eviction from its showroom (Trial

   Trans. 1574:6-25), among other things. This conduct not only reveals the non-existence of the

   Distributor Agreement, but provides a road map of misrepresentations by which third parties can

   identify Crew Tile’s and its principals’ fraud, deceit and bad faith.

           The reality of this entire proceeding is that Crew Tile, Ryan A. Davis, and Darlyne A.

   Davis, and likely others, fraudulently created the Distributor Agreement with the intent to extort a

   monetary settlement from the Porcelanosa Parties, through the misuse and abuse of the judicial

   system. Crew Tile should not be permitted to recover for such egregious and inequitable conduct,

   particularly when a jury has found that its claims at law were devoid of any factual support.

   C.      The Court Should Deny Plaintiff’s Equitable Claims Because the Doctrine of In Pari
           Delicto Mandates the Court Leave the Parties as It Finds Them

           In the unlikely event that the Porcelanosa Parties are seen to have any culpable conduct in

   these proceedings, the doctrine of in pari delicto should then apply. This doctrine is rooted in the

   principle that the court will leave equally culpable parties where they stand. Van Zanen v. Qwest

   Wireless, L.L.C., 522 F.3d 1127, 1132-33 (10th Cir. 2008). The general rule is that when parties

   to an illegal [fraudulent, or inequitable] bargain are in pari delicto, a court will not “aid either to

   enforce, revoke, or rescind.” Id. at 1133 (citing Potter v. Swinehart,184 P.2d 149, 151 (Colo.

   1947). The Tenth Circuit has described the doctrine of in pari delicto as: “one who has himself

   participated in a violation of law cannot be permitted to assert in a court of justice any right founded

   upon or growing out of the illegal transaction.” Sender v. Simon, 84 F.3d 1299 (10th Cir. 1996)

   (citing Merrill v. Abbott, 7 B.R. 843, 857 (D. Utah 1987) (internal quotation marks omitted)).

           Once again, Crew Tile cannot now recover in equity because Crew Tile, Ryan A. Davis,

   and Darlyne A. Davis were found by a jury to have abused the judicial process by maintaining a

   lawsuit based on a fraudulent contract. To allow Crew Tile to recover in equity for inequitable

   actions that it took of its own accord, and not undertaken for the Porcelanosa Parties’ benefit,
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    would permit Crew Tile to perpetuate the very fraud, deceit and bad faith identified by the jury.

    D.     The Plaintiff is Precluded from Any Recovery for Damages on Any Equitable Claims
           Due to Crew Tile’s Failure to Mitigate Damages

           Even if Crew Tile had been able to prove that it incurred expenses associated with acting

    as a distributor of Porcelanosa products, contrary to the evidence presented during trial, it had a

    duty to take reasonable steps under the circumstances to mitigate any potential damages. Damages

    may not be recovered for any injuries that might reasonably have been avoided by the plaintiff.

    Harsh v. Cure Feeders, LLC, 116 P.3d 1286, 1288 (Colo. App. 2005); see also City of Westminster

    v. Centric-Jones Constructors, 100 P.3d 472, 480 (Colo. App. 2003). Failure to mitigate damages

    refers to a party’s “failure to take such steps as are reasonable under the circumstances to minimize

    resulting damages.” Francis Ex Rel. Goodridge v. Dahl, 107 P.3d 1171, 1173 (Colo. App. 2005).

           Crew Tile did not take any steps to mitigate its damages. Rather, Crew Tile vacated its

    showroom providing no notice to Porcelanosa Los Angeles (Trial Trans. 1027:20-23); did not

    return exhibitors, displays or samples (Trial Trans. 834:8-10; 1775:1-4); allowed those exhibitors,

    displays or samples to be thrown away by its former landlord (Trial Trans. 1574:6-13); did not

    timely pay Porcelanosa Los Angeles for products; and invented “Operation Shutdown Denver” to

    advance its ostensible damages (Pl. Trial Ex. 135), to name only a few failures to mitigate its

    damages. Unaware of the foregoing, Porcelanosa continued to sell products to Crew Tile until

    January of 2014, several months after the initiation of this litigation (Defs. Trial Ex. B30 at 1).

    E.     Piercing the Corporate Veil Advances the Public Interest, and Properly Punishes Frauds
           and Other Abuses by the Crew Tile Parties

           i.      The Court Should Pierce the Corporate Veil Because Subject Entities Were Merely
                   Alter Egos of Individual Crew Tile Parties

           Members of a corporation or a limited liability company can be held liable for their own

    torts, even if they purportedly were acting on behalf of the company, “so long as they personally

    participated in the act constituting the tort.” See e.g. Sedoy v. JW Ventures, LLC, No. 15-cv-02168-
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    RBJ, 2016 WL 3522110, at *2 (D. Colo. Dec. 23, 2016), citing C.R.S. § 7-80-107(1) and Sheffield

    Services Co. v. Trowbridge, 211 P.3d 714, 719-20 (Colo. App. 2009) (applying the section to a

    manager of an LLC). The doctrine of piercing the corporate veil allows a court to impose

    individual liability on corporate shareholders and limited liability company members stemming

    from the company’s debts. Here, the Porcelanosa Parties’ piercing the corporate veil claim argues

    that the Alter Ego Defendants (i.e. G&D Davis Holdings, LLC, the Radicchio Domestic Trust, and

    the Stardust Domestic Trust) are the alter egos of Crew Tile, Ryan A. Davis and Darlyne A. Davis.

           A corporation is generally treated as a legal entity separate from its shareholders, officers,

    and directors, and permits shareholders to invest with the assurance that they will not be held

    personally liable for the corporation’s debts. See e.g. McCallum Family L.L.C. v. Winger, 221 P.3d

    69, 73-74 (Colo. 2009); In re Phillips, 139 P.3d 639, 643-44 (Colo. 2006); Micciche v. Billings,

    727 P.2d 367, 372-73 (Colo. 1986). In Colorado, Sheffield Services applied the veil piercing theory

    to limited liability companies. Sheffield Services supra. A corporate veil may be pierced, “if not

    doing so would defeat public convenience, justify wrong, or protect fraud.” Great Neck Plaza, L.P.

    v. Le Peep Restaurants, LLC, 37 P.3d 485, 490 (Colo. App. 2001).

           To determine whether it is appropriate to pierce the corporate veil, a court must make a

    three-part inquiry. Phillips, 139 P.3d at 644; Micciche, 727 P.2d at 372-73. First, the court must

    determine whether the corporate entity is the “alter ego” of the person or entity in issue. Phillips,

    139 P.3d at 644. Courts consider a variety of factors in determining status as an alter ego, including

    whether (1) the corporation is operated as a distinct business entity; (2) funds and assets are

    commingled; (3) adequate corporate records are maintained; (4) the nature and form of the entity's

    ownership and control facilitate misuse by an insider; (5) the business is thinly capitalized; (6) the

    corporation is used as a “mere shell”; (7) legal formalities are disregarded; and (8) corporate assets

    are used for noncorporate purposes. Winger, 221 P.3d at 74 (citing Phillips, 139 P.3d at 644.)

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           Piercing the corporate veil may be determined when, as here, the owners use the corporate

    form to further their own personal goals, as enumerated. The court must then determine whether

    justice requires recognizing the substance of the relationship over the form because the corporate

    fiction was “used to perpetrate a fraud or defeat a rightful claim.” See Phillips, 139 P.3d at 644.

    This does not require actual fraud, complete with a showing of intent. See Shamrock Oil & Gas

    Co. v. Ethridge, 159 F. Supp. 693, 696 (D. Colo. 1958). Rather, a party only must show that

    retention of the corporate form would produce inequitable consequences. Id. Inequitable

    consequences include the “manifest abuse of the corporate form,” including “intent to use the

    corporation as a shield for fraud.” Walk-In Med. Ctrs., Inc. v. Breuer Capital Corp., 778 F. Supp.

    1116, 1123 (D. Colo. 1993) (citing Ward v. Cooper, 685 P.2d 1382, 1383 (Colo. App. 1984)).

           In analyzing whether to pierce the corporate veil, the most important consideration is

    whether an equitable result will be achieved by disregarding the corporate form and holding an

    individual personally liable for the acts of the business entity. Phillips, 139 P.3d at 644. This

    determination is essential as “[p]iercing the corporate veil is an equitable remedy, requiring

    balancing of the equities in each particular case.” Great Neck Plaza, 37 P.3d at 490.

           ii.     The Court Should Similarly Allow for Reverse Veil Piercing Because Individual
                   Crew Tile Parties Utilized Entities as Façades

           For Paradigm Tile & Stone Distributors, LLC (“Paradigm Tile”), G&D Davis Holdings,

    LLC, the G&D Davis Holdings Trust, the Radicchio Domestic Trust, and the Stardust Domestic

    Trust (collectively the “Alter Ego Defendants”), each are entities created and owned by Ryan A.

    Davis, Glenn L. Davis, and Darlyne A. Davis and reverse veil piercing must be considered.

           Reverse veil piercing imposes liability on a corporation or limited liability company for

    the obligations of an individual shareholder. See In re Phillips, 139 P.3d at 644. In an “outside

    reverse piercing” claim, an outside third-party seeks to impose liability on the corporation so as to

    recover debts owed by an individual shareholder. See In re Phillips, 139 P.3d at 645.
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            In Shamrock Oil & Gas v. Ethridge, a Federal district court adopted a broad definition of

    reverse veil piercing in a case with similar facts to the one at hand. Shamrock Oil & Gas v. Ethridge

    159 F. Supp. 693 (D. Colo. 1958). In applying reverse veil piercing, the Shamrock court stressed

    that “[t]he abstraction of the corporate entity should never be allowed to bar out and pervert the

    real and obvious truth.” Id. at 696. Here, the Porcelanosa Parties now seek to reverse pierce the

    corporate veil in order to reach the individual parties’ assets, which have been inequitably

    transferred to the Alter Ego Defendants.

            In Colorado, the same three-pronged test is applied in veil piercing and reverse veil piercing

    cases. See In re Phillips, 139 P.3d at 646. However, certain factors must be considered differently

    due to the inverse nature of the claim. In reverse veil piercing, a plaintiff alleges that an individual

    member or shareholder is incapable of satisfying a debt because the individual has divested all of

    their assets into a corporate alter ego. Hence, overcapitalization of a corporate alter ego can be

    evidence of fraud and serve as a basis for reverse veil piercing. See Pac. Dev., Inc. v. United States,

    1979 WL 1283, at *2 (D.D.C. Jan. 3, 1979).

            By divesting their assets to the Alter Ego Defendants, Ryan A. Davis and Darlyne A. Davis

    intentionally sheltered their individual assets. As a result, Ryan A. Davis and Darlyne A. Davis

    are likely incapable of satisfying debts owed by each individually and by Crew Tile, their “family

    business.” (See e.g. Trial Trans. 504:3-5). In addition to the jury verdict rendered in this case, such

    debts include the judgment against Crew Tile and Darlyne Davis in favor of CFPM, LLC. (See

    e.g. Defs. Trial Ex. B8). In fact, the testimony of Glenn L. Davis demonstrates that the sole

    purpose in forming G&D Davis Holdings, LLC, the Stardust Domestic Trust, and the Radicchio

    Domestic Trust was to consolidate assets after Crew Tile and Darlyne A. Davis were sued by

    CFPM, LLC. (See e.g. Trial Tr. 1451:11-17; 1453:13-21). A veil may be pierced where the

    corporate shield is being used to defraud creditors. See Fish v. East, 114 F.2d 177 (10th Cir. 1940).

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           In “consolidating assets,” the Alter Ego Defendants became overcapitalized with respect

    to Ryan A. Davis’s and Darlyne A. Davis’s individual assets. For example, Glenn Davis testified

    that certain Alter Ego Defendants holds he and Darlyne A. Davis’s primary residence at 14860

    Pecos Street, Broomfield, Colorado 80023. (See Trial Tr. 1452:10-16).

    F.     The Court Should Apply a Bad-Faith Fee-Shifting Analysis and Award Defendants
           Attorneys’ Fees and Costs for the Crew Tile Parties’ Misconduct

           As noted above, Crew Tile has engaged in unusually egregious conduct in bringing and

    maintaining this lawsuit, predicated solely on the fraudulent Distributor Agreement. As such, this

    Court should use its inherent equitable power to sanction Crew Tile’s, Ryan A. Davis’s and

    Darlyne A. Davis’s conduct by placing the burden of all of the Porcelanosa Parties’ attorneys’ fees

    and costs on each, jointly and severally. Federal courts possess inherent powers that are not

    conferred by rule or statute, “to manage their own affairs so as to achieve the orderly and

    expeditious disposition of cases.” Goodyear Tire & Rubber Co. v. Haeger, 581 U.S. ____, p. 5

    (2017) (quoting Link v. Wabash R. Co., 370 U.S. 626, 630-631 (1962). These powers include “the

    ability to fashion an appropriate sanction for conduct which abuses the judicial process.”

    Chambers v. NASCO, Inc., 501 U.S. 32, 44-45 (1991).

           A court may shift only those attorneys’ fees incurred because of the misconduct at issue in

    the case. Goodyear Tire & Rubber Co., 581 U.S. at p. 6. And, when using its inherent power to

    shift attorney’s fees, a court must establish a causal link between the litigant’s misbehavior and

    the legal fees paid by the opposing party. Id. Thus, the party seeking reimbursement for fees may

    recover only the portion of fees that he would not have paid but for the misconduct. Fox v. Vice,

    563 U.S. 826, 836 (2011). In the Tenth Circuit, the bad faith fee-shifting exception allows

    attorneys’ fee awards only for litigation conduct and not for the underlying previous conduct which

    gave rise to the cause of action. See Morganroth & Morganroth v. DeLorean, 213 F.3d 1301, 1317

    (10th Cir. 2000). However, in this instance, Crew Tile’s, Ryan A. Davis’s and Darlyne A. Davis’s
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    litigation conduct, as well as the conduct which gave rise to the cause of action, are inextricably

    linked as they created the fraudulent contract, which precipitated and facilitated the cause of action.

                    III.     DEFENDANTS’ STATEMENT OF MATERIAL FACTS

           1.      The Parties to this litigation submitted Stipulations for this case which are

    incorporated in their entirety herein, by reference. (See [Dkt. No. 343] at p. 7-8).

           2.      Shana Bastemeyer testified that she was aware and had knowledge that

    Porcelanosa was selling its products through companies like Home Depot, Great Indoors, and

    Prosouce, during the relevant time period from 2009 to 2013. (Trial Trans. 218:11-24).

           3.      In exchange for a $50,000.00 contribution, Ray Perry received a 15 percent

    ownership in Crew Tile. (Trial Trans. 269:13).

           4.      Ray Perry furnished a check dated June 28, 2010 to “Crew Tile” in the amount of

    $5,000 and Contemporaneously, Ryan Davis and Ray Perry agreed that Ryan Davis owned 85%

    of Crew Tile Distribution, Inc. and that Ray Perry owned the remaining 15% of Crew Tile. (Def.

    Trial Ex. A33 at 1-2).

           5.      Ray Perry testified that his attorney filed Articles of Amendment with the

    Colorado Secretary of State to change the name of “Crew Tile Distribution” to “Crew Tile

    Distribution, Inc.” (Trial Trans. 269:17-20; Defs. Trial Ex. X at 8-9).

           6.      Ray Perry testified that he received an e-mail on or around August 25, 2010,

    wherein Ryan Davis informed him that Crew Tile was carrying Alcalagres Tile and that Crew

    Tile had started negotiations with Alacalagres regarding an exclusivity agreement. (Trial Trans.

    278:2-4; see Defs. Trial Ex. A37).

           7.      Ryan Davis testified that he was previously employed by Porcelanosa Los Angeles

    from sometime in 2003 until July 20, 2004, at which point Porcelanosa Los Angeles fired Ryan

    Davis due to the “conflict of interest that [Ryan Davis] was starting his own flooring company.”

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    (Trial Trans. 303:5-8).

            8.       Ryan Davis did not disclose “his involvement to [Porcelanosa Los Angeles] as

    required by [Porcelanosa Los Angeles’s] policy on conflict of interest.” (Defs. Trial Ex. I; see

    Trial Trans. 303:9-13).

            9.       Ryan Davis testified that Crew Tile “never wound up doing anything with

    Alcalagres.” (Trial Trans. at 354:19-20).

            10.      On September 2, 2008, Infinite Flooring & Design (“Infinite Flooring”) submitted

    a second Account Application for a credit account to Porcelanosa Los Angeles, which listed Ryan

    Davis, Glenn Davis, and Darlyne Davis as individuals authorized to charge to the account, became

    the operative agreement between the parties. (Trial Trans. 485:9; Defs. Trial Ex. O).

            11.      In filling out the “Customer Application (C.O.D.)” form to establish an account

    with Porcelanosa on behalf of Infinite Flooring, dated March 25, 2004, Darlyne Davis signed the

    form as “Darlyne Johnson” and listed only herself as the “Owner.” (Trial Trans. 492:15-17; Defs.

    Trial Ex. D at 4).

            12.      Ryan Davis, Darlyne Davis, and Glenn Davis, individually, each owned shares of

    Infinite Flooring because it was a family entity. (Tr. Trans. 500:4-10).

            13.      On July 20, 2010, Ryan Davis executed the “Minutes of Action by Consent of The

    Special Combined Meeting of the Directors and Shareholders of Crew Tile Distribution, Inc.” in

    which he represented that he was the “Sole Shareholder and Director” of Crew Tile. (Trial Trans.

    503:1 – 504:5. Defs. Trial Ex. A32 at 2). 3

            14.      On March 28, 2011, in furtherance of the dealer relationship between Crew Tile

    and Porcelanosa Los Angeles, Crew Tile submitted a new Dealer Account Application to


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     Additionally, Ryan Davis, by and through execution of this “Consent,” issued 315 shares of Class B Common stock
    to Ray Perry in exchange for a $50,000.00 contribution to Crew Tile Distribution, Inc.


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    Porcelanosa Los Angeles, which, upon submission, became the operative agreement between the

    parties. (Trial Trans. 509:4 – 512:22; Pl. Trial Ex. 115).

           15.     At trial, contrary to the written record, Ryan Davis testified that he was the owner

    of Infinite Flooring. (Trial Trans. 587:11-19).

           16.     Ryan Davis acted as the incorporator and incorporated Infinite Flooring, as a

    Colorado corporation on September 27, 2005, and in doing so, authorized the corporation to issue

    10,000 shares. (Trial Trans. 607:24 – 609:18; Defs. Trial Ex. L at 2-3).

           17.     On December 14, 2009, Francisco “Paco” Montilla, the General Manager of

    Porcelanosa Los Angeles, and Jack Handley, the Outside Sales Representative for Porcelanosa

    Los Angeles, flew to Denver, at the request of Ryan Davis, in an attempt to support Crew Tile

    and to and view Crew Tile’s showroom at the Denver Design Center. See, Jack Handley Trial

    (Tr. 687:1-7; 694:21-24; 758:18-22; 823:23-25).

           18.     At trial, Jack Handley testified sales from Colorado compared with Porcelanosa

    Los Angeles’s total sales volume was relatively small, including as compared to other regions.

    (Trial Trans. 758:7-11).

           19.     As a matter of policy, Porcelanosa entities do not enter into exclusive agreements

    with any dealer or re-seller of tile in any geographic region in the United States. (Trial Trans.

    759:19-22). During the 2009 timeframe, Porcelanosa LA did not grant exclusivity to any dealer

    or distributor within its territory. (See Trial Tr. 759:12-15).

           20.     On June 15, 2009, Ryan Davis informed Jack Handley during a telephone call that

    he had secured investors who were willing to invest $500,000 with “RG Crew” in order to

    promote Porcelanosa’s products. (Trial Trans. 769:4-18; 770:5-25; see also Defs. Trial Ex. Y).

           21.     Jack Handley testified that it was his understanding that “RG Crew” was going to

    be Infinite Flooring with a different name. (Trial Trans. 770:23-25; 776:8-10).

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           22.     Jack Handley stated that when he took over the territory that included Colorado,

    Infinite Flooring was already a customer, and that there were probably 50 or 60 other different

    accounts ranging from dealers to architects and designers. (Trial Trans. 771:22 – 773:4).

           23.     Porcelanosa entities executed standard written exhibitor agreements with

    customers, including Crew Tile, which required a security deposit to be sent to the Porcelanosa

    entity and in return the Porcelanosa entity would provide the customer the ability to use to displays

    and exhibit Porcelanosa products. (See Trial Trans. 777:21 – 779:24).

           24.     Jack Handley testified that he did not sign the Distributor Agreement during his

    employment or after his employment with Porcelanosa Los Angeles. (Trial Trans. 783:11-13).

           25.     Occasionally, Porcelanosa Los Angeles provided Crew Tile, at no charge, with

    various products and materials to assist in the building of Crew Tile’s showroom. (See Trial

    Trans. 829:9-17; Trial Trans. 1774:14-25).

           26.     Porcelanosa Los Angeles entered into several Exhibitor Agreements with Crew

    Tile, under which Porcelanosa Los Angeles loaned to Crew Tile a display or “exhibitor” to

    showcase Porcelanosa brand products. (Trial Trans. 830:2-17; see, e.g. Pl. Trial Ex. 48; Pl. Trial

    Ex. 56; Pl. Trial Ex. 60).

           27.     Between 2009 and 2013, Porcelanosa Los Angeles lent to Crew Tile

    approximately 30 exhibitors or displays, subject to the terms and conditions of the Exhibitor

    Agreements. (Trial Trans. 834:2-7).

           28.     Despite the fact that exhibitors belonged to Porcelanosa Los Angeles, Crew Tile

    never returned those exhibitors. (Trial Trans. 834:8-10; Trial Trans. 1775:1-4).

           29.     Darlyne Davis admitted that she definitely made some mistakes with regard to the

    corporate formalities. (Trial Trans. 915:6-8).

           30.     When Paradigm Tile was created in the fall of 2012, Darlyne Davis combined

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    Crew Tile’s accounting with Paradigm Tile’s accounting, and only maintained one set of books

    for the two separate companies. (Trial Trans. 950:5-20; 951:13-15).

           31.     Darlyne Davis admitted that she knowingly combined accounts “more out of

    convenience for myself to keep track of everything than what probably was – I don’t want to say

    legally incorrect.” (Trial Trans. 951:1-4).

           32.     One of the stated reasons for using Paradigm Tile to keep Crew Tile’s books was

    that CFPM, LLC, had begun to garnish Crew Tile’s account following the entry of judgment.

    (Trial Trans. 951:13-24; 1034:11-18).

           33.     Crew Tile used credit cards from Infinite Flooring to pay for tile and other supplies

    because Crew Tile did not have sufficient credit on its credit cards. (Trial Trans. 997:6-13).

           34.     In addition to keeping only one set of books for the two companies, Crew Tile

    began directing payments only to Paradigm Tile accounts because Crew Tile had closed its bank

    account. (Trial Trans. 1034:1-9).

           35.     Darlyne Davis filed Articles of Incorporation for RG Crew with the Colorado

    Secretary of State, on June 2, 2009. (Defs. Trial Ex. X at 1-3).

           36.     On September 14, 2009, Darlyne Davis filed Articles of Amendment with the

    Colorado Secretary of State to change the name of “RG Crew” to “Crew Tile Distribution.” (Defs.

    Trial Ex. Y at 4-5).

           37.     On September 14, 2009, Darlyne Davis, on behalf of Crew Tile, prepared and

    submitted an Account Application for a Credit Account with Porcelanosa Los Angeles, which

    listed Darlyne Davis and Ryan Davis as individuals authorized to charge to the account, but listed

    Darlyne Davis as the only owner, partner, or corporate officer. (Trial Trans. 1008:23 – Trial Trans.

    1009-6; Pl. Trial Ex. 29).

           38.     Darlyne Davis testified at trial that Sark Tile sued “Bryan Davis, not Ryan, Bryan,

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    B-r-y-a-n,” and that this lawsuit was related to a dispute that occurred in Nebraska. (Trial Trans.

    1013:10-22).

           39.     Crew Tile and Darlyne Davis never informed Porcelanosa Los Angeles that they

    had been evicted from the Denver Design Center because “[they] didn’t think it was their

    business. They didn’t own us.” (Trial Trans. 1027:20-23).

           40.     On December 8, 2009, Crew Tile and CFPM, LLC, the landlord of the Denver

    Design Center, entered into a Standard Lease for the showroom at the Denver Design Center.

    (Trial Trans. 1030:13-16; see Defs. Trial Ex. A15).

           41.     On December 28, 2012, Darlyne Davis, as agent for Crew Tile, responded to a

    Complaint by Sark Tile in the County Court of Lancaster County Nebraska, and stated that Crew

    Tile “has closed as of November 1, 2012 and no longer is doing business in the State of Colorado.”

    (Trial Trans. 1031:19 – 1033:23; Defs. Trial Ex. B12; Def. Trial Ex. B13).

           42.     Darlyne Davis testified that she was the sole shareholder of Crew Tile on paper

    seven months in but she was doing it on behalf of herself, Ryan Davis, and Glenn Davis because

    they “[w]e’re kind of all in one.” (Trial Trans. 1043:13-16).

           43.     Darlyne Davis testified that she knew that they “would ultimately be responsible

    for it.” (Trial Trans. 1044:18).

           44.     On September 14, 2010, Darlyne Davis e-mailed Ryan Davis to communicate the

    items and costs of an order to be placed with Alcalagres. (Trial Trans. 1097:25—1098:16; Defs.

    Trial Ex. A39).

           45.     Darlyne Davis testified that an account titled in the name of Crew Tile Distribution

    was used to pay the attorney who assisted Ryan Davis with his bankruptcy. (Trial Trans. 1109:6–

    1110:5).

           46.     Crew Tile was a “platinum” dealer which entitled it to a 55% discount; Manuel

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    Prior testified that during the relevant time period most of the dealers that they had in Porcelanosa

    LA were “platinum” dealers. (Trial Trans. 1142:16-17).

           47.     Paradigm Tile was formed with the Colorado Secretary of State on September 17,

    2012. (Trial Tr. 1449:6-10; see also Def. Trial Ex. B4).

           48.     The stated owners, partners, and corporate officers of Paradigm Tile were Glenn

    Davis and Ryan Davis. (Trial Trans. 1457:15-25; Defs. Trial Ex. B11).

           49.     Michelle Sudovich testified that her job responsibilities at Crew Tile included

    “getting in there and trying to sell Porcelanosa tile and Alcalagres.” (Michelle Sudovich Dep.

    Trans. at 15:12-13).

           50.     Crew Tile made an offer of employment to Adela Stransky on November 8, 2010,

    which made no mention of Crew Tile selling only Porcelanosa brand products, but rather stated

    that the employee could not “use any of Crew Tile Distribution pricing practices and customers

    or vendors base to profit personally.” (Defs. Trial Ex. A42 at 1).

           51.     CFPM, LLC had to “chase [Crew Tile] for the security deposit for the showroom

    and the Denver Design Center” and Crew Tile immediately was behind on its rent payment

    obligations, even though it was given five months of free rent. (Trial Trans. 1561:17-19; 1562:11;

    1564:13-19).

           52.     On or around March 29, 2012, Crew Tile was evicted from the showroom at the

    Denver Design Center because they were in default of their lease agreement and owed CFPM,

    LLC “a lot of money.” (Trial Trans. 1572:7-21).

           53.     Upon vacating the showroom at the Denver Design Center, Crew Tile and the

    Davises abandoned various tile products and displays belonging to Porcelanosa Los Angeles, did

    not leave the showroom in the condition that Crew Tile had received it in, and eventually the

    landlord had to bear the cost in removing the entire floor. (Trial Trans. 1573:2-23).

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           54.     Porcelanosa Los Angeles did not recover any of the tile products or displays that

    were abandoned by Crew Tile as the items were ultimately discarded by CFPM, LLC in

    connection with the restoration of the showroom. (Trial Trans. 1574:6-13).

           55.     While Crew Tile and the Davises abandoned the various tile products and displays

    belonging to Porcelanosa Los Angeles, they did remove and take with them the light fixtures

    owned by the landlord of the Denver Design Center. (Trial Trans. 1574:14-25).

           56.     In addition to abandoning Porcelanosa Los Angeles’s tile products and displays,

    when Crew Tile and the Davises vacated the showroom, they also caused significant damage to

    the space, for which CFPM, LLC ultimately had to pay to restore to a rentable condition. (Trial

    Trans. 1576:14-25).

           57.     Following Crew Tile’s eviction from the showroom, CFPM, LLC, the landlord of

    the Denver Design Center, initiated a lawsuit against Crew Tile and Darlyne Davis to recover

    both back rent owed by Crew Tile and damages caused in vacating the showroom. (Trial Trans.

    1577:1-4; 1583:21-24).

           58.     On October 29, 2012, Crew Tile and Darlyne Davis entered into a Confession to

    Judgment, whereby both Crew Tile and Darlyne Davis confessed to a judgment in favor of CFPM,

    LLC, in the amount of $100,000, plus prejudgment interest of $1,000 and attorney fees and costs

    in the amount of $3,608.72. (Defs. Trial Ex. B8).

           59.     On October 30, 2012, a judgment in the amount of $104,608.72 was entered

    against Crew Tile and Darlyne Davis and in favor of CFPM, LLC, the landlord of the Denver

    Design Center. (Defs. Trial Ex. B9).

           60.     Ryan Davis filed a Voluntary Petition for Individual, Chapter 7 bankruptcy with

    the United States Bankruptcy Court for the District of Colorado on March 22, 2011. (Defs. Trial

    Ex. A54 at 1). In filing the Voluntary Petition for Bankruptcy, Ryan Davis stated that the “debts

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    [were] primarily business debts.” (Defs. Trial Ex. A54 at 1). On the Voluntary Petition for

    Bankruptcy, Ryan Davis represented that “Infinite Flooring & Design” was another name used

    by the Debtor in the last 8 years. (Id.).

            61.     Ryan Davis represented that he owned 5 percent or more of the voting or equity

    securities of Infinite Flooring, within six years immediately preceding the commencement of his

    Voluntary Petition for Bankruptcy. (Id. at 11).

            62.     On the Bankruptcy Petition, Ryan Davis further represented that Glenn L. Davis

    owned 49% of Infinite Flooring. (Id. at 12).

            63.     In the Bankruptcy Petition, inclusive of Schedule B, Ryan Davis did not list his

    interest in Crew Tile, which would have included the purported “Distribution Agreement” with

    Porcelanosa Los Angeles. (Defs. Trial Ex. A54 at 17-19).

            64.     G&D Davis Holdings, LLC is a Nevada limited liability company. (Trial Trans.

    1449:22-1450:2).

            65.     The Operating Agreement for G&D Davis Holdings, LLC was executed on August

    24, 2012. (Trial Trans. 1450:3-6).

            66.     The G&D Davis Holdings Trust is a trust that was created at or around the same

    time as G&D Davis Holdings, LLC. (Trial Trans. 1450:17-25).

            67.     Glenn Davis is the Managing Trustee of the G&D Davis Holdings Trust. Glenn

    Davis Trial Trans. 1451:1-4. Ryan Davis is the Manager of both the G&D Davis Holdings Trust

    and G&D Davis Holdings, LLC. (Trial Trans. 1451:5-10).

            68.     Glenn Davis, Darlyne Davis, and Ryan Davis created the G&D Davis Holdings

    Trust and G&D Davis Holdings, LLC, with the assistance of Attorney Stephen Berken, for the

    purpose of consolidating and holding certain assets of the Davises. (Trial Trans. 1451:11-17).

            69.     Attorney Stephen Berken assisted Crew Tile and Darlyne Davis in the negotiation

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    of the Confession to Judgment with CFPM, LLC, which eventually resulted in the $104,608.72

    judgment entered in favor of CFPM, LLC. (Trial Tr. 1451:18-21; Defs. Trial Ex. B8).

           70.    The Stardust Domestic Trust is a trust that was formed on or around August 24,

    2012, approximately two months prior to the judgment entered against Crew Tile and in favor of

    CFPM, LLC. (Trial Trans. 1452:22-1453:2).

           71.    As with the G&D Davis Holdings Trust, G&D Davis Holdings, LLC, and the

    Radicchio Domestic Trust, the Stardust Domestic Trust was created by the Davises with the

    assistance of Attorney Stephen Berken. (Trial Trans. 1452:22-1453:4).

           72.    The Stardust Domestic Trust holds a number of the Davis’ assets, including a one

    percent ownership interest in Paradigm Tile. (Trial Trans. 1452:10-16).

           73.    The Stardust Domestic Trust also holds the primary residence of Glenn Davis and

    Darlyne Davis at 14860 Pecos Street, Broomfield, Colorado 80023. (Trial Trans. 1452:10-16).

           74.    The Radicchio Domestic Trust is a trust that was formed on or around August 24,

    2012, approximately two months prior to the judgment entered against Crew Tile and in favor of

    CFPM, LLC. (Trial Trans. 1453:13-21).

           75.    As with the G&D Davis Holdings Trust, G&D Davis Holdings, LLC, and the

    Stardust Domestic Trust, the Radicchio Domestic Trust was created by the Davises with the

    assistance of Attorney Stephen Berken. (Trial Trans. 1453:13-21).

           76.    The Radicchio Domestic Trust was created by the Davises in direct response to

    CFPM, LLC’s lawsuit against Crew Tile and Darlyne Davis. (Trial Trans. 1453:13-21).

           77.    As of September 17, 2012, the Radicchio Domestic Trust was the registered agent

    of Paradigm Tile. (Trial Trans. 1454:21-25; Defs. Trial Ex. B4).

           78.    As of September 17, 2012, Paradigm Tile’s registered address was 14860 Pecos

    Street, Broomfield, Colorado 80023. (Trial Trans. 1454:5-17; Defs. Trial Ex. B4).

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           79.     The address of 14860 Pecos Street, Broomfield, Colorado 80023 is also the address

    belonging to the primary residence of Glenn Davis and Darlyne Davis. (Trial Trans. 1454:15-

    20).

           80.     As of September 17, 2012, the Radicchio Domestic Trust’s registered address was

    14860 Pecos Street, Broomfield, Colorado 80023, which is the same address as that belonging to

    Paradigm Tile, as well as Glenn Davis and Darlyne Davis. (Trial Trans. 1455:1-7; Defs. Trial

    Ex. B4).

           81.     Jeff Schnepp testified that Crew Tile received that same price group as any dealer.

    (Schnepp Depo. Trans. 114:18-19).

           82.     Jeff Schnepp further testified that “a distributor is someone that sold multiple lines

    at a bigger discount in order to make the profit margin for him to sell that line and sell it to other

    dealers. (Id. 114:23 – 115:1).

           83.     Jeff Schnepp asked Ryan Davis to send him the purported Distributor Agreement

    so he could help Ryan Davis; however, Ryan Davis never sent the purported agreement. (Id.

    115:17-22).

           84.     Porcelanosa Los Angeles’s total sales in the state of Colorado for the year 2008

    were $89,938.26. (Trial Trans. 1752:10-11).

           85.     Porcelanosa Los Angeles’s total sales in the State of Colorado for the year 2009

    were $132,334.16. (Trial Trans. 1752:12-14).

           86.     Porcelanosa Los Angeles’s total sales in the State of Colorado for the year 2010

    were $240,962.21. (Trial Trans. 1752:15-17).

           87.     Porcelanosa Los Angeles’s total sales in the State of Colorado for the year 2011

    were $267,835.20. (Trial Trans. 1752:18-20).

           88.     Porcelanosa Los Angeles’s total sales in the State of Colorado for the year 2012

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    were $914,700.34. (Trial Trans. 1752:21-23).

           89.     Porcelanosa Los Angeles had total sales of $914,700.34 in Colorado for the year

    2012; $455,000 of the total was accounted for product that was shipped to San Diego, California,

    but that was invoiced to Colorado due to the location of the architectural firm, HST San Diego

    HH LP c/o Benjamin West, which was the company that registered the project. (Trial Trans.

    1753:7-22; see also Defs. Trial Ex. B78).

           90.     On November 15, 2012, Paradigm Tile submitted a Dealer Account Application

    to Porcelanosa LA, which, upon submission, was rejected by Porcelanosa Los Angeles. (See Trial

    Trans. 1773:15-1774:13; Defs. Trial Ex. B11).

           91.     Crew Tile received displays and samples from Porcelanosa Los Angeles

    amounting to roughly $49,000. (Trial Transcript 1774:14-22).

           92.     Neither Porcelanosa Los Angeles, nor any other Porcelanosa company, have

    recouped any portion of the $49,000 worth of displays and samples. (Trial Trans. 1774:23-25).

           93.     Defendants’ Expert, Patrick McFarlen testified that Crew Tile had less than

    $50,000 invested into it. (Trial Trans. 2071:23-24).

           94.     Further, Patrick McFarlen testified that year-over-year there was no growth at

    Crew Tile, that the company did not make a profit, and that for the 2010 tax return, the balance

    sheet was not included. (Trial Trans. 2072:17-25).


                                         IV.     CONCLUSION

           Once again, the net effect of the jury’s verdict is that the Crew Tile Parties were dishonest

    and the Distributor Agreement was forged.

           The Porcelanosa Parties have set forth arguments in support of the affirmative defenses of:

    (a) the Doctrine of Unclean Hands, (2) the Doctrine of In Pari Delicto, and (3) the Doctrine of

    Failure to Mitigate Damages. The Porcelanosa Parties further argue that equity directs that the
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    Court should pierce the corporate veil in order to avoid the inequitable result of protecting certain

    of the Crew Tile Parties’ frauds. The Porcelanosa Parties also assert that the Court should employ

    its inherent authority to impose the Porcelanosa Parties’ costs and attorneys’ fees upon Crew Tile,

    Ryan A. Davis and Darlyne A. Davis, as a sanction and to deter future abusive litigation.

           The Court should deny Crew Tile’s equitable claims. The Court should pierce the

    corporate veil in order to avoid the inequitable result of protecting certain of the Crew Tile Parties’

    frauds. And the Court should employ its inherent authority to impose the Porcelanosa Parties’

    costs and attorneys’ fees upon Crew Tile, Ryan A. Davis and Darlyne A. Davis, jointly and

    severally, as a sanction and to deter future abusive litigation.

           WHEREFORE, the Porcelanosa Parties respectfully request this Court: (a) deny all

    equitable claims made by Plaintiff; (b) pierce the corporate veil that the Crew Tile Parties sought

    to establish by and through their alter ego corporations, limited liability companies, and trusts; and

    (c) require Crew Tile, Ryan A. Davis and Darlyne A. Davis, jointly and severally, to pay all

    reasonable and attendant attorneys’ fees and costs the Porcelanosa Parties have incurred in

    litigating this matter, along with interest as allowed by Colorado law.

       DATED this the 30th day of May, 2017.


                                                   Respectfully submitted,

                                                   /s/ James N. Thomaidis                          .
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                                     CERTIFICATE OF SERVICE

            I hereby certify that on the 30th day of May, 2017, and true and correct copy of the foregoing
    was filed via ECF filing system and notice was sent electronically to the following:

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                                                    By: /s/ Jared Barnard
                                                           Attorney




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